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   EXHIBIT 4
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                                             Document
                                               Google retains268-5        Filed
                                                              data we collect      11/14/22
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     HOW GOOGLE RETAINS DATA WE COLLECT



     We collect data as you use Google services. What we collect, why we collect it, and how you can manage your
     information are described in our Privacy Policy. This retention policy describes why we hold onto different types
     of data for different periods of time.


     Some data you can delete whenever you like, some data is deleted automatically, and some data we retain for
     longer periods of time when necessary. When you delete data, we follow a deletion policy to make sure that
     your data is safely and completely removed from our servers or retained only in anonymized form. How Google
     anonymizes data




     Information retained until you remove it
     We offer a range of services that allow you to correct or delete data stored in your Google Account. For
     example, you can:


            Edit your personal info


            Delete items from My Activity


            Delete content like photos and documents


            Remove a product from your Google Account


            Delete your Google Account entirely


     We’ll keep this data in your Google Account until you choose to remove it. And if you use our services without
     signing in to a Google Account, we also offer you the ability to delete some information linked to what you use
     to access our services, like a device, browser or app.




     Data that expires after a specific period of time
     In some cases, rather than provide a way to delete data, we store it for a predetermined period of time For each
     type of data, we set retention timeframes based on the reason for its collection For example, to ensure that our
https://policies.google.com/technologies/retention?hl=en-US                                                              1/3
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     services display properly on many different types of devices, we may retain browser width and height for up to 9
     months. We also take steps to anonymize certain data within set time periods. For example, we anonymize
     advertising data in server logs by removing part of the IP address after 9 months and cookie information after
     18 months.




     Information retained until your Google Account is deleted
     We keep some data for the life of your Google Account if it’s useful for helping us understand how users
     interact with our features and how we can improve our services. For example, after you delete a specific Google
     search from My Activity, we might keep information about how often you search for things, but not what you
     searched for. When you delete your Google Account, the information about how often you search for things is
     also removed.




     Information retained for extended time periods for limited
     purposes
     Sometimes business and legal requirements oblige us to retain certain information, for specific purposes, for
     an extended period of time. For example, when Google processes a payment for you, or when you make a
     payment to Google, we’ll retain this data for longer periods of time as required for tax or accounting purposes.
     Reasons we might retain some data for longer periods of time include:


            Security, fraud & abuse prevention


            Financial record-keeping


            Complying with legal or regulatory requirements


            Ensuring the continuity of our services


            Direct communications with Google




     Enabling safe and complete deletion


https://policies.google.com/technologies/retention?hl=en-US                                                             2/3
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     When you delete data in your Google account, we immediately start the process of removing it from the product
     and our systems. First, we aim to immediately remove it from view and the data may no longer be used to
     personalize your Google experience. For example, if you delete a video you watched from your My Activity
     dashboard, YouTube will immediately stop showing your watch progress for that video.


     We then begin a process designed to safely and completely delete the data from our storage systems Safe
     deletion is important to protect our users and customers from accidental data loss Complete deletion of data
     from our servers is equally important for users’ peace of mind This process generally takes around 2 months
     from the time of deletion This often includes up to a month long recovery period in case the data was removed
     unintentionally


     Each Google storage system from which data gets deleted has its own detailed process for safe and complete
     deletion. This might involve repeated passes through the system to confirm all data has been deleted, or brief
     delays to allow for recovery from mistakes. As a result, deletion could sometimes take longer when extra time
     is needed to safely and completely delete the data.


     Our services also use encrypted backup storage as another layer of protection to help recover from potential
     disasters Data can remain on these systems for up to 6 months


     As with any deletion process, things like routine maintenance, unexpected outages, bugs, or failures in our
     protocols may cause delays in the processes and timeframes defined in this article. We maintain systems
     designed to detect and remediate such issues.




https://policies.google.com/technologies/retention?hl=en-US                                                           3/3
